                      UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF TENNESSEE
                               AT NASHVILLE
______________________________________________________________________________

 YVONNA BROWN, individually and on behalf of
all others similarly situated,

        Plaintiff,

vs.                                                  Civil Action No.:3:11-0146
                                                     Judge Sharp
                                                     Magistrate Judge Griffin


CASH TECHNOLOGIES OF AMERICA, CORP.
and TENT RESTAURANT OPERATIONS, INC,
_____________________________________________________________________________

                                  NOTICE OF SETTLEMENT

Comes now the Parties and advises the Court that the Plaintiff, individually and the Defendant,

CASH TECHNOLOGIES OF AMERICA, CORP, are entering into a proposed settlement of

this matter upon an individual basis. The Parties request that any ruling on the Motion for Class

Certification be withheld based upon the individual settlement as it appears that the Defendant

does not have sufficient assets to sustain a judgment favorable to a class. The Parties propose to

submit a Proposed Order of Dismissal upon the Parties completion of the execution of a

Settlement Agreement.
                                                     Respectfully submitted,
                                                     TODD AND SPENCER

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